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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Ross W. Senske,

               Plaintiff,

v.

Pinnacle Credit Services, LLC,
                                                         COMPLAINT AND
Oxford Law, LLC,
                                                     DEMAND FOR A JURY TRIAL

Seiler & Associates, PLLC, and

Kyle D. Moen,

               Defendants.


                                     INTRODUCTION

      1.       This is an action for damages brought by Ross W. Senske against Pinnacle

Credit Services, LLC, Oxford Law, LLC, Sieler & Associates, PLLC, and Kyle D. Moen

for their violations of the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

(“FDCPA”).

                                      JURISDICTION

      2.       Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. §§

1331 and 1337.

      3.       Venue in this District is proper because the relevant acts and transactions

occurred here and the Defendants transact business here.

                                         PARTIES
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      4.       Plaintiff, Ross W. Senske, is a natural person who resides in Baton Rouge,

Louisiana. He is a “consumer” or a “person” affected by a violation of the FDCPA, as

those terms are defined by 15 U.S.C. §§ 1692a(3) and 1692k.

      5.       Defendant, Pinnacle Credit Services, LLC, (“PCS”) is a Minnesota limited

liability company engaged in the business of purchasing and collecting delinquent and

charged-off consumer debt. Defendant PCS’s principal place of business is located at

7900 Highway 7, Saint Louis Park, Minnesota. Defendant Pinnacle is a “debt collector”

as that term is defined under 15 U.S.C. 1692(a)(6).

      6.       Defendant, Oxford Law, LLC, is a Minnesota limited liability company

engaged in the business of collecting consumer debts. Defendant Oxford’s principal place

of business is located at 7900 Highway 7, Suite #350, Saint Louis Park, Minnesota.

Defendant Pinnacle is a “debt collector” as that term is defined under 15 U.S.C.

1692(a)(6).

      7.       Defendant, Seiler & Associates, PLLC, (“Seiler”) is a Minnesota

professional limited liability company engaged in the business of collecting consumer

debts. Defendant Seiler’s principal place of business is located at 7900 Highway 7, Suite

#350, Saint Louis Park, Minnesota. Defendant Seiler is a “debt collector” as that term is

defined under 15 U.S.C. 1692(a)(6).

      8.       Defendant, Kyle D. Moen, is a natural person employed by Defendants

Oxford and Seiler as an associate attorney. Defendant Moen is an attorney licensed to

practice law in Minnesota. Defendant Moen is a “debt collector” as that term is defined

under 15 U.S.C. 1692(a)(6).

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                                  FACTUAL ALLEGATIONS

       9.       On or around September 14, 2001, Plaintiff allegedly opened a credit card

account with Chase Manhattan Bank USA, N.A. (“Chase Bank”). At the time the account

was opened Plaintiff was residing in Texas. If a contract or agreement was signed

opening the credit card account, it was signed in Texas.

       10.      The credit card account was used for personal, family or household

purposes and, therefore, is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

       11.      On or around February 2006, Plaintiff allegedly defaulted on his payment

obligations on the credit card account. After failing to receive payments for several

months, Chase Bank charged off the account and sold it to a debt buyer (the “Debt”).

       12.      Upon information and belief, on or before June 30, 2010, Defendant PCS

purchased the Debt from Chase or one of its successors in interest.

       13.      Upon information and belief, on or before May 1, 2011, Defendant PCS

retained Defendants Oxford and Seiler to collect the Debt from Plaintiff.

       14.      On or around May 6, 2011, Defendants Oxford and Sieler’s employee, Kyle

D. Moen, drafted and signed a legal complaint demanding payment of the Debt (the

“Complaint”). See attached, Exhibit A.

       15.      The Complaint stated that Plaintiff was a resident of the State of Minnesota

and residing at 318 Lilium Circle, Watertown, Minnesota.

       16.      This statement regarding Plaintiff’s residency was false. On the date the

Complaint was signed, Plaintiff was residing in Indiana. Plaintiff had not resided in

Minnesota since he was a child, over 40 years prior.

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       17.    The Complaint contained several exhibits, including an “Exemplar to

Exhibit A” which appeared to be the original account information for the Debt. The

contact information included an address for San Angelo, Texas. In addition, a copy of a

billing statement was included in the exhibits, which shows a home address for Plaintiff

in Camas, Washington.

       18.    Defendants had ample information available to recognize and determine

that Plaintiff did not reside in the state of Minnesota at the time the contract creating the

Debt was made or at the time the Defendants served the Complaint on Plaintiff’s mother.

       19.    On or around May 11, 2011, Defendants served the Complaint on

Plaintiff’s mother, Myrtis Senske, at her home address located at 318 Lilium Circle,

Watertown, 55388. See attached, Exhibit A.

       20.    Plaintiff was not a resident of the state of Minnesota and did not reside at

the Watertown address.

       21.    On May 23, 2012, Defendants filed the Complaint in Carver County

District Court. The filing included a request that the Court Administrator enter a Default

Judgment against Plaintiff because he had not responded to the Complaint, which was

never served upon him.

       22.    In the ‘Affidavit In Support of Default Judgment,’ Defendant Moen made

the following sworn statements:

              “…

              2. That on 5/11/2011, Defendant was personally served with a copy of the

              Plaintiff’s Summons and Complaint.

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                …

                7. That upon information and belief, the current residence and post office

                address of the defendant is 318 LILIUM CIR, WATERTOWN, MN.

See attached, Exhibit A.

          23.   Defendant Moen’s statements were false. Plaintiff was never personally

served with a copy of the Summons and Complaint and Plaintiff did not reside at 318

Lilium Circle, Watertown, Minnesota.

          24.   As a result of Defendants filing their legal action against Plaintiff in a

judicial district where Plaintiff did not reside, nor where Plaintiff allegedly signed the

contract creating the Debt, Plaintiff was unable to respond to the Complaint and a default

judgment was entered against him in the amount of $21,787.69.

          25.   Defendants showed deliberate disregard for Plaintiff’s right to due process

when they filed the Complaint in Minnesota without performing the minimal amount of

investigation necessary to determine that the Plaintiff was a resident of a foreign

jurisdiction.

          26.   As a result of Defendants’ actions, Plaintiff has suffered actual damages in

the form of damage to his credit rating and emotional distress.

                                    Respondeat Superior

          27.   The acts and omissions of Defendant Moen, and the other debt collectors

employed as agents by Defendants Oxford and Seiler, were committed within the time

and space limits of their agency relationship with their principal, Defendants Oxford and

Seiler.

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       28.    The acts and omissions of debt collectors employed by Oxford and Seiler,

were incidental to, or of the same general nature as, the responsibilities these agents were

authorized to perform by Defendants Oxford and Sieler in collecting consumer debts.

       29.    By committing these acts and omissions against Plaintiff, these individual

Defendants and these other debt collectors were motivated to benefit their principals,

Defendants Oxford and Seiler.

       30.    Defendants Oxford and Seiler are therefore liable to Plaintiff through the

Doctrine of Respondeat Superior for the intentional and negligent acts, errors, and

omissions done in violation of state and federal law by its collection employees,

including but not limited to violations of the FDCPA and Minnesota tort law, in their

attempts to collect this debt from Plaintiff.

                                    CAUSES OF ACTION

                                    COUNT I.
             VIOLATIONS OF THE FAIR DEBT COLLECTIONS PRACTICES ACT
                                 15 U.S.C. § 1692

       31.    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       32.    Defendants violated the FDCPA, 15 U.S.C. § 1692, in their attempt to

collect the alleged Account from Plaintiff. Defendant’s violations include, but are not

limited to, the violations described in Paragraphs 33 - 37 of this Complaint.

       33.    Defendants violated 15 U.S.C. §§ 1692i by brining a legal action against

Plaintiff to collect the Debt in a judicial district (Carver County) where Plaintiff was not a

resident, nor where Plaintiff singed the contract creating the Debt.

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        34.      Defendants violated 15 U.S.C. §§ 1692e by using false, deceptive and

misleading representations and means in connection with the collection of the alleged

Debt.

        35.      Defendants violated 15 U.S.C. §§ 1692e(2) by falsely representing the

character and amount of the Debt allegedly owed by Plaintiff.

        36.      Defendants violated 15 U.S.C. §§ 1692f by using unfair and

unconscionable means to collect the alleged Debt.

        37.      Defendants violated 15 U.S.C. §§ 1692f(1) by attempting to collect an

amount from Plaintiff, which was not expressly authorized by the agreement creating the

Debt or permitted by law.

                                  PRAYER FOR RELIEF

        THEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants for the following:

                                         COUNT I.
                    Violations of the Fair Debt Collection Practices Act

        1.       For an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

        2.       For an award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §

1692k(a)(2)(A);

        3.       For an award of costs of litigation and reasonable attorney’s fees pursuant

to 15 U.S.C. § 1692k(a)(3);




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                                          Respectfully Submitted,

                                          HEANEY LAW FIRM, LLC


Date: May 22, 2013
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